






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,119




EX PARTE MICHAEL GRINELL FRANKLIN, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 04-04-5721A IN THE 286TH DISTRICT COURT
FROM HOCKLEY COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of a
controlled substance and sentenced to forty (40) years’ imprisonment.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that he was deprived of his right to appeal because his notice of appeal
was untimely filed. We remanded this application to the trial court for findings of fact and
conclusions of law.  The trial judge found that Applicant’s trial counsel notified Applicant of his
appellate rights and the deadline to file a notice of appeal.  However, Applicant did not receive
counsel’s letter notifying him about the deadline to file a notice of appeal in time to perfect his
appeal.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relief is granted.  We find that Applicant is entitled to the opportunity to file an out-of-time
appeal of the judgment of conviction in Case No. 04-04-5721A from the 286th Judicial District
Court of Hockley County.  Applicant is ordered returned to that time at which he may give a written
notice of appeal so that he may then, with the aid of counsel, obtain a meaningful appeal.  All time
limits shall be calculated as if the sentence had been imposed on the date on which the mandate of
this Court issues.  We hold that, should Applicant desire to prosecute an appeal, he must take
affirmative steps to file a written notice of appeal in the trial court within 30 days after the mandate
of this Court issues.
&nbsp;
Delivered: March 25, 2009
Do Not Publish


